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                    IN THE UNITED STATES DISTRICT COURT FOR
                    THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                   HUNTINGTON DIVISION


UNITED STATES OF AMERICA


v.                                                     CRIMINAL ACTION NO. 3:09-00158

KEVIN L. ROBINSON
     also known as “KK;”and
JASON P. BELCHER
     also known as “Biz”



                          MEMORANDUM OPINION AND ORDER

       Pending are motions by Defendants Robinson and Belcher to preclude the government from

introducing evidence of “other bad acts” pursuant to Federal Rule of Evidence 404(b). See

Docs.128, 204, and 310. Both Defendant Robinson and Defendant Belcher seek to exclude evidence

of prior convictions for drug offenses. Defendant Belcher also seeks to exclude evidence of drug

related activity that occurred after the period of the conspiracy alleged in the indictment.

       Rule 404(b) of the Federal Rules of Evidence provides,

                       Evidence of other crimes, wrongs, or acts is not
                       admissible to prove the character of a person in order
                       to show action in conformity therewith. It may,
                       however, be admissible for other purposes, such as
                       proof of motive, opportunity, intent, preparation, plan,
                       knowledge, identity, or absence of mistake or
                       accident, provided that upon request by the accused,
                       the prosecution in a criminal case shall provide
                       reasonable notice in advance of trial, or during trial if
                       the court excuses pretrial notice on good cause
                       shown, of the general nature of any such evidence it
                       intends to introduce at trial.
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“Because the rule recognizes the admissibility of prior crimes, wrongs, or acts, with only the one

stated exception,” it is interpreted in the Fourth Circuit to be a “rule of inclusion.” United States v.

Queen, 132 F.3d 991, 994 (4th Cir. 1997). Rule 404(b), however, only encompasses acts extrinsic

to the crime charged. See United States v. Chin, 83 F.3d 83 (4th Cir. 1996). If other acts are

“inextricably intertwined or . . . part of a single criminal episode,” then they are intrinsic to the crime

charged and not subject to the Rule 404(b) analysis.

        Here, evidence of prior convictions has some probative value for purposes other than to show

action in conformity with character. For example, it could be used to show the absence of mistaken

or innocent involvement in the distribution of controlled substance or to show knowledge relevant

to controlled substances or their distribution.      They are therefore admissible under the Fourth

Circuit Court of Appeals’s interpretation of Rule 404(b).

        The drug related activity of Defendant Belcher occurring outside the conspiracy time-frame

identified in the indictment is nonetheless intrinsic to the crime charged and therefore admissible

without regard to a 404(b) analysis. It grew out of the conspiracy and is both “inextricably

intertwined” with acts of the conspiracy and part of the same “single criminal episode.” Moreover,

it is of significant probative value and would be admissible even if subjected to a 404(b) analysis.

It shows knowledge of drug distribution methods, intent to participate in drug related activity,

motive and plan relevant to the conspiracy.

        Having determined that these acts are admissible either under Rule 404(b) or as intrinsic to

the crimes charged, the Court must still examine their admissibility under Rule 403 of the Federal

Rules of Evidence. Under Rule 403,

                        relevant, evidence may be excluded if its probative
                        value is substantially outweighed by the danger of

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                       unfair prejudice, confusion of the issues, or
                       misleading the jury, or by considerations of undue
                       delay, waste of time, or needless presentation of
                       cumulative evidence.

Here, the Court concludes that evidence of prior convictions must be excluded under Rule 403. As

noted above, this evidence does have some permissible probative value. This value, however, is

substantially outweighed by the danger of unfair prejudice. If admitted, there would exist a high risk

that the jury would improperly use this evidence and consider the crimes charged as consistent with

the character of each Defendant. To the extent they sought to exclude this evidence Defendants’

motions (Docs.128, 204, and 310) are GRANTED.

       The Court reaches a different conclusion when analyzing the post-conspiracy acts of

Defendant Belcher. As described above, these acts are highly probative, and indeed intrinsic to the

crimes charged. Any prejudice that might exist is outweighed by the probative value of this

evidence. To the extent Defendant Belcher seeks to exclude this evidence, his motions (Docs.128

and 204 are DENIED.

       The Court DIRECTS the Clerk to send a copy of this written Opinion and Order to counsel

and the defendant, the U.S. Attorney’s Office, the U.S. Probation Office, and the U.S. Marshals’

Service.



                                               ENTER:         March 15, 2010




                                              ROBERT C. CHAMBERS
                                              UNITED STATES DISTRICT JUDGE




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